                             IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                      WESTERN DIVISION

                                       Case No. 5:22-cv-00050-M

 MADISON CAWTHORN,                                )
                                                  )
            Plaintiff,                            )
                                                  )
 V.                                               )                         ORDER
                                                  )
DAMON CIRCOSTA, in his official capacity          )
as Chair of the North Carolina State Board of     )
Elections,                                        )
STELLA ANDERSON, in her official capacity         )
as a member of the North Carolina State Board     )
                                                  )
of Elections,
                                                  )
JEFF CARMON, in his official capacity as a        )
member of the North Carolina State Board of       )
Elections,                                        )
STACY EGGERSIV, in his official capacity as       )
a member of the North Carolina State Board of     )
Elections,                                        )
                                                  )
TOMMY TUCKER, in his official capacity as
                                                  )
a member of the North Carolina State Board of     )
Elections,                                        )
KAREN BRINSON BELL, in her official               )
capacity as the Executive Director of the North   )
Carolina State Board of Elections,                )
                                                  )
                                                  )
             Defendants.

       This matter is before the court on the Plaintiffs Motion for Attorney's Fees and Expenses with

Fair Estimate and Request for Briefing Schedule [DE 97]. Defendants do not oppose Plaintiffs request

for a schedule setting briefing on the motion for dates following final resolution of all matters in this




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case. 1 For good cause shown, this request is GRANTED as follows ; the court RESERVES JUDGMENT

pending submission of all briefing on the Plaintiffs request for an award of attorney's fees and costs and

sets the following schedule:

    •   Plaintiff shall file a supplement containing all information/evidence necessary to support his

        motion pursuant to 42 U.S.C. § 1988 within thirty (30) days after all matters, including appeals,

        in this action have resolved;

    •   Defendants shall file a response to the motion within thirty (30) days after the supplement is

        served; and

    •   Plaintiff may file a reply brief in support of the motion within fifteen (15) days after the response

        is served.

                                        ~
        SO ORDERED this        2 q day of March, 2022.




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                                               RICHARD E. MYERS II
                                                                          y-<-v J :It,
                                               CHIEF UNITED STATES DISTRICT JUDGE




1 Plaintiffs counsel cites the court's Local Civil Rule 7.l(b)(2) to justify his failure to confer with
opposing counsel before filing Plaintiffs motion for attorney's fees. The court reminds the parties that
they must comply with the court's practice preferences and procedures, specifically I.A., which states:

        Before filing a motion, the movant must confer with the opposing party regarding the relief
        requested and must note in the motion the movant' s efforts to confer and the opposing
        party's position on the requested relief (i.e. , opposed, unopposed, none).
                                                      2

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